Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 1 of 27

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Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 2 of 27

AO 398 (Rev. 12/93)

NOTICE OF LAWSUIT AND REQUEST FOR
WAIVER OF SERVICE OF SUMMONS

TO: (A) Vames fi We fle K

as (B) ASS(S fo Cr sof) CrTN of (C) of Lynn

A lawsuit has been commenced against you (or the entity on whos behalf you are addressed). A copy of the
complaint js attached to this notice. It has been filed in the United States District Court for the
0)  £adeun District of {Na sSach AusetS

and has been assigned docket number (E)

This is not a formal summons or notification from the court, but rather my request that you sign and return the
enclosed waiver of service in order to save the cost of serving you with a judicial summons and an additional copy of the
complaint. The cost of service will be avoided if I receive a signed copy of the waiver
within (F) ZO days after the date designated below as the date on which this Notice and Request
is sent. I enclose a stamped and addressed envelope (or other means of cost-free return) for your use. An extra copy
of the waiver is also attached for your records.

If you comply with this request and return the signed waiver, it will be filed with the court and no summons
will be served on you. The action will then proceed as if you had been served on the date the waiver is filed, except
that you will not be obligated to answer the complaint before 60 days from the date designated below as the date on
which this notice is sent (or before 90 days from that date if your address is not in any judicial district of the United
States).

If you do not return the signed waiver within the time indicated, I will take appropriate steps to effect formal
service in a manner authorized by the Federal Rules of Civil Procedure and will then, to the extent authorized by those
Rules, ask the court to require you (or the party on whose behalf you are addressed) to pay the full costs of such
service. In that connection, please read the statement concerning the duty of parties to waive the service of the
summons, which is set forth at the foot of the waiver form.

I affirm that this request is being sent to you on behalf of the plaintiff, this BE day of
& ci [ _AoOx Y
DIV Se
Signature of Panty Attorney /
or Unrepresented Plaintiff

A—Name of individual defendant (or name of officer or agent of corporate defendant)

B—Title, or other relationship of individual te corporate defendant

C—Name of corporate defendant, if any

D—District

E—Docket number of action

F—Addressee must be given at least 30 days (60 days if located in foreign country) in which to retum waiver
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 3 of 27

RAO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

ro. 99 Yarnef

(NAME OF PLAINTIFF’S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I, , acknowledge receipt of your request
(DEFENDANT NAME)
that [ waive service of summons in the action of ’
(CAPTION OF ACTION)
which is case number in the United States District Court
(DOCKET NUMBER)
for the District of

I have also received a copy of the complaint in the action, two copies of this instrument, and a means by which I can
return the signed waiver to you without cost to me.

Lagree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit by not requiring
that I (or the entity on whose behalf 1 am acting) be served with judicial process in the manner provided by Rule 4.

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the jurisdiction
or venue of the court except for objections based on a defect in the summons or in the service of the summons.

I understand that a judgment may be entered against me (or the party on whose behalf I am acting) if an

answer or motion under Rule 12 is not served upon you within 60 days after ;
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

(DATE) (SIGNATURE)

Printed/Typed Name:

As of

(TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and complaint. A
defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive service of summons, fails to
do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in an improper place
or in a court that lacks jurisdiction over the subject matter of the action or over its person or property. A party who waives service of the summons retains all defenses
and objections (except any relating to the summons or to the service of the summons), and may later object to the jurisdiction of the court or to the place where the action
bas been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiff's attorney (or unrepresented plaintiff) a response to the
complaint and must also file a signed copy of the response with the court. [f the answer or motion is not served within this time, a default judgment may be taken against
that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually served when the request for waiver of service
was received.
JS 44 (Rev. 04/21)

Case 1:24-cv-11227-N ie CON Saket 08/05/24 Page 4 of 27

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a2) PLAINTIFFS DEFENDANTS Cy ane Weflock,
‘Y So fv crt

Va cnet | -tan L Tames F. 1 OL,

(Db) County of Residence of First Listed Plaintiff & SSE X County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: [N LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(Cc) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (if Known)

P.O: BsX /§®
NofofkK MA &26Sb

pros

Il. BASIS OF JURISDICTION (Place an "Xx" it One Box Only) Tt. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant}
(Ji U.S. Government [RJ3 Federal Question PTF DEF PIF DEF
Plaindff (U.S. Government Not a Party) Citizen of This State (1) = [J © _ tncomporated or Principal Place O+ Os
of Business In This State
([J2_ U.S. Government (14 Diversity Citizen of Another State (12 [J 2 incorporated and Principal Place ((]5 [5
Defendant (Indicate Citizenship of Parties in Item Ii) of Business In Another State
Citizen or Subject of a C2 (3 Foreign Nation Oe Cs
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
CONTRACT TORTS FORFEXTURE/PENALTY nANKRUPTCY ~~~ OTHER STATUTES]
110 Insurance PERSONAL INJURY PERSONAL INJURY 1625 Drug Related Seizure 422 Appeal 28 USC [58 L| 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 . 3729(a))
[40 Negotiable Instrument Liability Cl 367 Health Care/ INTELLECTUAL 400 State Reapportionment
EL] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical | PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment; Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act |] 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [LJ 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Soudent Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
Co 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR Ll 880 Defend Trade Secrets | 480 Consumer Credit
 _ of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud [710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|_| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |_| 485 Telephone Consumer
|_| 190 Other Contract Product Liability H 380 Other Personal |_]720 Labor/Manag SOCIAL SECURETY Protection Act
| 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 BIA (1395) 490 Cable/Sat TV
L_| 196 Franchise Injury (_] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) + 850 Securities/Commodities/
| 362 Personal [njury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |.) 890 Other Statutory Actions
REAL PROPERTY CIVEL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation 865 RSI (405(g))} |_| 891 Agricultural Acts
|_|210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
{| 220 Foreclosure 441 Voting [_] 463 Alien Detainee Income Security Act ’ 895 Freedom of Information
|_]230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate [] 270 Taxes (U.S. Plaintiff Act
|_}240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations ._| 530 General r] 871 IRS—Third Party | 899 Administrative Procedure
[_]290 All Other Real Property |_| 445 Amer. wiDisabites -[__] 535 Death Penalty TMEMIGRATION 26 USC 7609 ActReview or Appeal of
Employm Other: 462 Naturalization Application Agency Decision
|_| 446 Amer. w/Disabilties -[_~] $40 Mandamus & Other ie Other Immigration |] 950 Constintionality of
Other $50 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

| Original 2 Removed from 3 Remanded from C4 Reinstated or Oo 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Stanute under which you
Ha U.S. e

filing (De net cite jurisdictional statutes untess diversity):
Sif

VI. CAUSE OF ACTION

aa descri tion u. cause:
vie eps

ee vrofted IS amealment yrahts of ctry2en

VII. REQUESTED IN = IF THISISACLASSACTION | DEMANDS £2jq & CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, £.R.Cv.P. PY nee JURY DEMAND: Yes _[]No
VOL. RELATED CASE(S)
IF ANY (See instructions):

DOCKET NUMBER

PMApri| 23. 2a dof

TGNATURE OF EY OF RECORD
LN pm st

FOR OFFICE USE ONLY
RECEIPT #

AMOUNT

APPLYING [FP

JUDGE MAG. JUDGE

Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 5 of 27

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

1. Title of case (name of first party on each side only) An 4) Vacn € (( i 7a YQ c) F. KA fro ck

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local

rule 40.1(a}(1)).
i. 180, 400, 410, 441, 535, 830", 835", 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

[ | ti. 110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820°, 840", 895, 896, 899.

Y] iit. 120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,

365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, $40, 550, 555, 560,
625, 690, 710, 720, 740, 790, 791, 861-365, 870, 871, 890, 950.
*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, if any, of related cases. (See Iccal rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

4. Has a prior action between the same parties and based on the same claim ever beer filed in this court?
YES NO [-

5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES [| NO
YES CL] NO LJ

6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847
YES NO

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

7. Doaill of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in the, ry division? - we fl Rule 40.1(d)).

YES
A. If yes, in which divisi all of the non-governmental parties reside?
Eastern Division 7 Central Division Pr Western Division L]
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division [ Central Division LJ Western Division C

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
submit a separate sheet identifying the motions) :
ves L] wo Ld

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Ann Yan elf pity Se

appress £0, Bax SSO Wee folk MA ©2086
TELEPHONE NO. Ki OF-~PD/S - S3/O

(CategoryForm11-2020.wpd )}
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 6 of 27

Pro Se 1 (Rev. 09/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

(Write the full name of each defendant who is being sued. [f the
names of ail the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

. ) Case No.
Af nn Un ine i ) (to be filled in by the Clerk's Office)
’ )
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. oo. i
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes [_]no
please write "see attached" in the space and attach an additional )
page with the full list of names.) )
-V- )
)
Tames F. WHec.
Defendant(s) )
)
)

COMPLAINT FOR A CIVIL CASE

i, The Parties to This Complaint
A. The Plaintifi(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name Al Nn Uny nef, /

Street Address Pp 1 oF B ox 150

City and County Nexto (Cc mM fh OAGS ©
State and Zip Code : °

Telephone Number AAS ~ G / @ ~ S3 {©

E-mail Address

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifsown). Attach additional pages if needed.

Page | of 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 7 of 27

Pro Se [ (Rev. 09/16) Complaint for a Civil Case

Defendant No. 1

—
Name _ | Ames Lr. Welack.
Job or Title (if known) Cth at Ayn assis tin? $2 licer

Street Address

City and County -L g“nn Zre Cx £ CHUTE

State and Zip Code Skah y ge. K oop)
Telephone Number m1 {7 Sh - 68 40) OLR
E-mail Address (if known) Lawl a /y DD MA Sa

Defendant No. 2

Name

Job or Title (if tnown)
Street Address
City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if krown)
Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Page 2 of 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 8 of 27

Pro Se | (Rev. 09/16) Complaint for a Civil Case

I. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
Federal question [J Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

&nh ene this 1 1s amen dment, S ST) einer men
mendment, /o amendmen cade
discriminator Goaed 0

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) ;
and has its principal place of business in the State of (name)

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is acitizen of
the State of (name) . Oris a citizen of
(foreign nation)

Page 3 of 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 9 of 27

Pro Se 1 (Rev. 09/16) Complaint for a Civil Case

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

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; oNLE fn AS ON ng ;
Poeadst of Je? by Tames WW

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lotk_anel_fon*S79P
IIL statement of Ait Tres “SG Ne Pe 0° pe ;

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

(. Tames F. weflock | assistant? city soli catn UGe cf
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Ann Yan eh Lafeel April AT, IAS, WeHock referd

ty Ja hifer ts Then ating P sfire- chret- Des masars

Com’
IV. Relief 7 °

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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Tames Wwilock +o Adreet his false stetemeadS
MK pobNic a: “Td » ara an myunchon 72 STOP
all 7 $ PASSES | Mm Yarnell hd vag tot 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 10 of 27

Pro Se | (Rev. 09/16) Complaint for a Civil Case
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gee lve oh at be fire £ TELS DAS Sef \ eladeley” me o 4

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.
¢
Date of signing: Aart aA tf oOA Y
TS

Signature of Plaintiff
Printed Name of Plaintiff . A Nn Usa cre /

AVE

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Street Address

State and Zip Code

Telephone Number
E-mail Address

Page 5 of 5
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Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 13 of 27

MAO 398 (Rev. 12/93)

NOTICE OF LAWSUIT AND REQUEST FOR
WAIVER OF SERVICE OF SUMMONS

TO: (A) Vanes  F. Welle eK

as (B) ASS« f Cr 38/1 C1 FN of (C) Cy of Ly)

A lawsuit has been comrfienced against you (or the entity on wnold vet you are addressed). A copy of the
complaint is rehe to this notice. It has been filed in the United States District Court for oH

(D)  #agdern District of _AMassachuse

and has been assigned docket number (E)

This is not a formal summons or notification from the court, but rather my request that you sign and return the
enclosed waiver of service in order to save the cost of serving you with a judicial summons and an additional copy of the
complaint. The cost of service will be avoided if I receive a signed copy of the walver
within (F) VO days after the date designated below as the date on which this Notice and Request
is sent. I enclose a stamped and addressed envelope (or other means of cost-free return) for your use. An extra copy
of the waiver is also attached for your records.

If you comply with this request and return the signed waiver, it will be filed with the court and no summons
will be served on you. The action will then proceed as if you had been served on the date the waiver is filed, except
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States).

If you do not return the signed waiver within the time indicated, I will take appropriate steps to effect formal
service in a manner authorized by the Federal Rules of Civil Procedure and will then, to the extent authorized by those
Rules, ask the court to require you (or the party on whose behalf you are addressed) to pay the full costs of such
service. In that connection, please read the statement concerning the duty of parties to waive the service of the
summons, which is set forth at the foot of the waiver form.

df I affirm that this request is eer to you on behalf of the plaintiff, this AE day of

© Ayoad / _ AO,
7 7

Are FZ tA pv se

Signature of Plaintiff j Attorney /
or Unrepresented Pigintiff

A—Name of individual defendant (or name of officer or agent of corporate defendant)

B—Titie, or other relationship of individual to corporate defendant

C—Name of corporate defendant, if any

D—District

E—Docket number of action

F—Addressee must be given at least 30 days (60 days if located in foreign country) in which to retum waiver
Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 14 of 27

DAO 399 {Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

TO: find Varn off

(NAME OF PLAINTIFF’S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I, , acknowledge receipt of your request
(DEFENDANT NAME)

that I waive service of summons in the action of ;
(CAPTION OF ACTION)

which is case number in the United States District Court
(DOCKET NUMBER)

for the District of

I have also received a copy of the complaint in the action, two copies of this instrument, and a means by which I can
return the signed waiver to you without cost to me.

[agree to save the cost of service ofa summons and an additional copy of the complaint in this lawsuit by not requiring
that I (or the entity on whose behalf I am acting) be served with judicial process in the manner provided by Rule 4.

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the jurisdiction
or venue of the court except for objections based on a defect in the summons or in the service of the summons.

I understand that a judgment may be entered against me (or the party on whose behalf I am acting) if an

answer or motion under Rule 12 is not served upon you within 60 days after ;
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

(DATE) (SIGNATURE)

Printed/Typed Name:

AS of
(TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and complaint. A
defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive service of summons, fails to
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It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in an improper place
or ina court that lacks jurisdiction over the subject matter of the action or over its person or property. A party who waives service of the summons retains all defenses
and objections (except any relating to the summons or to the service of the summons), and may later object to the jurisdiction of the court or to the place where the action
has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiff's attorney (or unrepresented plaintiff) a response to the
complaint and must also file a signed copy of the response with the court. [f the answer or motion is not served within this time, a default judgment may be taken against
that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually served when the request for waiver of service
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is44. (Rev. 04221) Case 1:24-cv-11227-M eT COVER Sper 08/05/24 Page 15 of 27

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS (; oft Lonnt Wefloc LX
Vacnell ttan L Fanes F. de Soar Yy Safi crtyre

(b) County of Residence of First Listed Plaintiff fe SSE Xx County of Residence of First Listed Defendant
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY}
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number} pre S @ Attomeys (If Known}
P Ou 4 é x / SO

Notte [kK . AA 0266b

Il. BASIS OF JURISDICTION (Place an "X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plainiff
{For Diversity Cases Only) and One Box for Defendant)
CI! US. Government fR]3 Federal Question PTF DEF PTF DEF
Plainuff (U.S. Government Not a Party) Citizen of This State (J: [([] 1 _ incorperated or Principal Place C)4+ (e4
of Business [n This State
([]2 U.S. Government (14 Diversity Citizen of Another State (2 (1) 2 Incorporated and Principal Place [] 5 [5
Defendant {indicate Citizenship of Parties in {tem fff) of Business In Another State
Citizen or Subject of a [13 [13 Foreign Nation Ljé« (je
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
1 CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY [625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
(20 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 . 3729(a))
140 Negotiable Instrument Liability [-] 367 Heaith Cares [| 400 State Reapportionment
L_] 150 Recovery of Overpayment {| 320 Assault, Libel & Pharmaceutical |_ PROPERTY RIGHTS [| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [L] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Exctudes Veterans) 345 Marine Product Liability 840 Trad 4 Corrupt Organizations
[1153 Recovery of Overpayment Liability PERSONAL PROPERTY | LABOR 880 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[[] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |] 485 Telephone Consumer
Q 190 Other Contract Product Liability 380 Other Personal | _|720 Labor/Management P SOCHE SECUREFY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) : 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) | Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVEL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation 865 RSI (405(g)) | | 891 Agricultural Acts
|__|210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement ) | 893 Environmental Matters
|__| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act : |_| 895 Freedom of Information
|_| 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate CI 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_|245 Tort Product Liability Accommodations  [_] 530 General (C] 871 RS—Third Party | 899 Administrative Procedure
[_]290 All Other Real Property 445 Amer. w/Disabilities -[_] 535 Death Penalty IMiVOGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -]__ | 540 Mandamus & Other ie Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Piece an “X" in One Bax Only)
A! Original Ce? Removed from Oo 3 Remanded from oO 4 Reinstated or Oo 5 Transferred from oO 6 Multidistrict gO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

oe ig OS. Tp See wee eu *B yape not cite a statutes untess “ene?
Brief description of cause: 4 . *f..
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VI. CAUSE OF ACTION

VII. REQUESTED IN CHECK IF THIS'IS A S$ ACTION DEMANDS 523g & CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. Pyiiy nto JURY DEMAND: Yes [No
VII RELATED CASE(S) ‘
IF ANY See instructions); 9 Ge DOCKET NUMBER
DATE, , “BIGNATURE OF ASTORNEY OF RECORD
April 23 26a fen _p se
FOR OFSICE USE ONLY : X /

RECEIPT # AMOUNT . APPLYING IFP JUDGE MAG. JUDGE

Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 16 of 27

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

. 1. Title of case (name of first party on each side only) Aan Ya CHE {l vo 7am C2) F- KA fre cf

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
rule 40.1{a}(1)).

L 160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.
[| fl. 110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.
[VJ IH. 120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,

365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
625, 680, 710, 720, 740, 790, 791, 861-865, 870, 871, 390, 950.
*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, if any, of related cases. (See local rule 40.1(g)). if more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

4. Has a prior action between the same parties and based on the same claim ever been filed in this court?
YES NO [7

5. Dees the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES LJ NO [J
YES LJ NO [J

6. Is this case required to ba heard and determined by a district court of three judges pursuant to title 28 USC §2284?
YES NO

tf so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

7. Deall of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”}, residing in Massachusetts reside in “et division? - rl Rule 40.1(d)).

YES NO
A If yes, in which divisi _all of the non-governmental parties reside?
Eastern Division Central Division | Western Division [|
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division | Central Division L] Western Division L]

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
submit a separate sheet identifying the motions)
vs LI ow O

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME finn Yarnell pw Se

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(CategoryForm1 1-2020.wpd )
Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 17 of 27

Pro Se | (Rev. 09/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

Aion Yarnell

Plaintiffis)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
page with the full list of names.)
-y-

Tames Ee, jrock

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached" in the space and attach an additional page
with the full list of names.)

Case No.

(to be filled in by the Clerk's Office)

Jury Trial: (check one) [Aves [No

COMPLAINT FOR A CIVIL CASE

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Ann Usy nef/

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5O8 - F/R ~ §3/0

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifdnown). Attach additional pages if needed.

Page I of 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 18 of 27

Pro Se I (Rev. 09/16) Complaint for a Civil Case

Defendant No. 1

_—
Name | Lines ee Mock _.
Job or Title (if kown) Ch at Ay, AL, assistant Sa lich

Street Address AL
City and County 4

7 |
State and Zip Code Na (Ca th use. is (296)
Telephone Number 7 {~- 5h, * G Sf. 40 o LTR
E-mail Address (ifknown) law a) funn Ma S20

Defendant No. 2

Name

Job or Title (if known)
Street Address
City and County

State and Zip Code

Telephone Number
E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if iown)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number
E-mail Address (if known)

Page 2 of 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 19 of 27

Pro Se 1 (Rev. 09/16) Complaint for a Civil Case

Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
Federal question [ ] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of 7 United States Constitution that

ey ue ni cas. | st amendment, SS” amenl ment ,
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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (ame) , is acitizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) '
and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is acitizen of
the State of (name) . Oris acitizen of

(foreign nation)

Page 3 of 5
Case 1:24-cv-11227-NMG Document6 Filed 08/05/24 Page 20 of 27

Pro Se | (Rev. 09/16) Complaint for a Civil Case

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) :

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

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Ill. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.

The plaintiff? rs fally asks Tac conve pb onder

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Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 26 of 27

Pro Se 1 (Rev. 09/16) Complaint for a Civil Case

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule I 1.

A. For Parties Without an Attorney

I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk's Office may result

in the dismissal of my case.
c
Date of signing: Aare aA Lh POA. Y
7 f

Signature of Plaintiff p77) OO

Printed Name of Plaintiff “Any tarare/t

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

Page 5 of 5
Case 1:24-cv-11227-NMG Document 6 Filed 08/05/24 Page 27 of 27

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